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                                     L EVIN & G LASSER , P.C.
                                        420 LEXINGTON AVENUE – 28TH FLOOR
                                           NEW YORK, NEW YORK 10170
                                                 (212) 867-3636
                                            FACSIMILE (212) 661-2446


STEVEN I. LEVIN
DAVID G. GLASSER                                                                               WRITER’S EMAIL:
DAVID J. NATHAN
VICTOR COHEN                                                                             dglasser@levinglasser.com
DOUGLAS M. LEHMAN
STEPHEN C. GREENE
JAY GINSBERG
   __________

DOUGLAS MICHAELS




                                                              April 2, 2023

       Via ECF

       Hon. Hector Gonzalez
       U.S. District Court Judge
       United States District Court
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201


                 Re:    Cruz v. Moleskine America, Inc., Case No. 1:23-CV-1516 (HG)
                        Letter Motion to Extend Time to Answer and to File Joint Submission

       Dear Judge Gonzalez:

                 We represent Defendant Moleskine America, Inc. (“Moleskine”) in the above-captioned
       action.

               We write with the concurrence of Plaintiff’s counsel to request a 60-day extension of the
       time by which Moleskine must answer, move or otherwise respond to the Complaint from April
       7, 2023 to June 6, 2023, and to adjourn the parties’ deadline to file a joint case management plan
       presently scheduled for April 21, 2023 for approximately 60 days. Plaintiff consents to
       Moleskine’s request for an extension of time to respond to the Complaint and joins in the request
       for adjournment of the case management filing deadline.

             This is the first request for an adjournment and the additional time is needed to allow
       Defendant to confer with its insurer and will allow the parties to consider settlement possibilities.

                                                             Respectfully submitted,


                                                             David G. Glasser

       cc: Mars Khaimov, Esq.
           Mars Khaimov Law, PLLC
           Counsel for Plaintiff
